8/10/2021            Case 1:21-cv-03781-AT-JSA Court
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Court Case Inquiry


                                                      Superior Court Criminal Case Inquiry
    New search



            Case Number:       2021CR02035 11                                            Assigned to:     Judge R MACK


              Filing Date:     06/28/2021                                                     Status:     Pending




    Case Parties


     Party Name                                                           Party Type                    Attorney Name


     STATE OF GEORGIA                                                     Plaintiff

     WINN RAYMON SHEROD                                                   Defendant                     MARTIN KEITH C

        Cnt 1: CRU TO CHILD 1

        Cnt 2: SIMP BATT/FAM V




    Click     for additional information.                                                                               Docket Information


    Case Docket Information
             Action Date     Docket Action                  Description

            07/23/2021         Atty Lv of Abs                 LEA Atty KEITH C MARTIN

                                                              Defendant WINN RAYMON SHEROD

                                                              07/23/2021-07/23/2021 07/29/2021-07/29/2021

                                                              08/04/2021-08/07/2021 08/19/2021-08/19/2021

                                                              08/25/2021-08/27/2021

            07/23/2021         Image Document                 Notice of

                                                              Leave of Absence

            07/23/2021         Image Document                 Cert of Disc Provided by Deft

            07/23/2021         Entry of Appear                Entry of Appearance

            07/23/2021         Add Attorney                   Atty MARTIN KEITH C

                                                              for WINN RAYMON SHEROD

            06/28/2021         Case Filing                    WINN RAYMON SHEROD - CT 2
https://www.claytoncountyga.gov/government/courts/court-case-inquiry                                                                   1/2
8/10/2021            Case 1:21-cv-03781-AT-JSA Court
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                                                              Against WINN RAYMON SHEROD

            06/28/2021         Case Filing                    WINN RAYMON SHEROD - CT 1

                                                              Against WINN RAYMON SHEROD

            06/24/2021         Image Document                 Accusation

            01/14/2021         Image Document                 Custodian of Physical Evidence




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